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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

THOMAS R. FARESE, CASE NO. 03-61089-CIV-DIMITROULEAS
Plaintiff,

VS.

 

FLORIDA VENTURES, INC.,
PALM BEACH PARTNERS, LTD.,

HARALD DUDE, » MAE 28 2003
MANHATTAN CAPITAL PARTNERS, CLARENCE maDoox
SOUTHFIELD FARMS CORP., on ie ee BET AT,

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MOBILE MANAGEMENT CORP.,

CONGRESS SHOPPING CENTER LTD.,
“CONGRESS PLAZA” REAL PROPERTY,

DEE INVESTMENTS LIMITED PARTNERSHIP,
“ASPEN HOUSE” REAL PROPERTY,

SCOTT RAY (Assistant U.S. Attorney),

DAVID T. CASERTA (Federal Monitor), and
UNITED STATES OF AMERICA,

Defendants.
/

 

ORDER
THIS CAUSE having been heard upon Plaintiff's October 8, 2003 Motion for Discovery
[DE-95], said request is DENIED, without prejudice. The Court has ordered the parties to file a
Joint Scheduling Report (JSR) [DE-13]. Upon receipt of the JSR, the Court will enter a
scheduling and discovery order.

DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

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this ) a day of November, 2003.

 

 

 

 

WHLLIA IMI
United States District Judge

 
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Copies furnished to:

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Gary Dunkel, Esquire

Marilynn Koonce Lindsey, AUSA

Honorable Barry Seltzer, US Magistrate Judge
